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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.           CASE NO. 8:12-CR-205-T-17MAP

 COREY DEONTA HARRIS, et
 al.

                                    /


                                          ORDER


        This cause is before the Court on:

        Dkt. 407      Joint Motion to Strike Death Penalty Based Upon Cumulative
                      Effect of Factors Establishing Unconstitutional Arbitrariness
        Dkt. 414      Response

        All Defendants have jointly moved to strike the possibility of the death penalty
 in this case.


        The Government has filed its Response in opposition.


        After consideration, the Court adopts the Government’s Response. For all
 of the reasons expressed in the Response, the Court denies the Joint Motion to Strike
 Death Penalty without prejudice. Accordingly, it is


        ORDERED that the Joint Motion to Strike Death Penalty Based Upon Cumulative
 Effect of Factors Establishing Unconstitutional Arbitrariness (Dkt. 407) is denied without
 prejudice.
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       DONE and ORDERED in Chambers in Tampa, Florida on this 18th day of
  December, 2015.
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